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                    13   General Motors LLC and Darryl Brewster
                    14
                                               UNITED STATES DISTRICT COURT
                    15
                                              CENTRAL DISTRICT OF CALIFORNIA
                    16

                    17
                         FRANK ARROYO, an individual,             Case No. 5:20-cv-00454-JGB-KK
                    18
                                            Plaintiff,            JOINT STIPULATION OF
                    19                                            DISMISSAL WITH PREJUDICE
                                      vs.
                    20
                         GENERAL MOTORS LLC, a Delaware
                    21   Limited Liability Company; DARRYL
                         BREWSTER, an individual; and DOES
                    22   1 through 25, inclusive,
                    23                      Defendants.
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MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW
   LOS ANGELES
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                     1             IT IS HEREBY STIPULATED by and between Plaintiff Frank Arroyo
                     2   (“Plaintiff”) and Defendants General Motors LLC and Darryl Brewster
                     3   (“Defendants”) (collectively hereinafter, the “Parties”) pursuant to Federal Rules of
                     4   Civil Procedure 41(a)(1)(A)(ii) that this action may be dismissed with prejudice as
                     5   to all parties; each party to bear his/her/its own attorneys’ fees and costs. This
                     6   stipulation is made as the matter has been resolved to the satisfaction of all parties.
                     7    Dated: January 11, 2021                         DiEFER Law Group, P.C.
                     8                                                    By     /s/ Marcelo A. Dieguez
                                                                               Marcelo A. Dieguez
                     9                                                         Attorney for Plaintiff
                                                                               FRANK ARROYO
                    10
                         Dated: January 11, 2021                          MORGAN, LEWIS & BOCKIUS LLP
                    11
                                                                          By     /s/ Kathy H. Gao
                    12                                                         KATHY H. GAO
                                                                               Attorney for Defendant
                    13                                                         GENERAL MOTORS LLC
                    14                                SIGNATURE ATTESTATION
                    15             I hereby attest that all signatories listed above, on whose behalf this
                    16   stipulation is submitted, concur in the filing’s content and have authorized the
                    17   filing.
                    18   Dated: January 11, 2021                         MORGAN, LEWIS & BOCKIUS LLP
                    19                                                   By      /s/ Kathy H. Gao
                                                                               KATHY H. GAO
                    20                                                         Attorney for Defendant
                                                                               GENERAL MOTORS LLC
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MORGAN, LEWIS &
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 ATTORNEYS AT LAW
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